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 1                       IN THE UNITED STATES DISTRICT COURT

 2                              FOR THE DISTRICT OF ARIZONA

 3

 4   Jason Scott Collection Incorporated,                No. CV-17-02712-PHX-JJT

 5                 Plaintiff,

 6   v.

 7   Trendily Furniture LLC, et al.                      DEFENDANTS’ PRETRIAL
                                                         DISCLOSURES
 8                 Defendants.

 9

10           Pursuant to Rule 26(a)(3) of the Federal Rules of Procedure and this Court’s

11   scheduling order (ECF 61), Defendants Trendily Furniture LLC, et al. (“Defendants”)

12   hereby make the following disclosures.

13   I.      WITNESSES

14           A.    Witnesses Defendants Expect to Present

15                 1.     Rahul Malhotra 2991 Congressman Lane Dallas, TX 75220

16                        469-647-2553

17                 2.     Ron McBee 1525 Fort Worth Highway Weatherford, TX 76086

18                        817-594-1581

19                 3.     Chris Sanders 809 Albany Dr. Fort Worth, TX 76131

20                        214-618-3253

21           B.    Witnesses Defendants May Call if the Need Arises

22                 1.     Defendants reserve the right to call any and all expert witnesses and fact

23                        witnesses listed by any parties of this lawsuit.

24
     DEFENDANTS’ PRETRIAL DISCLOSURES – 1
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 1              2.    Defendants reserve the right to call impeachment and rebuttal witnesses,

 2                    as necessary.

 3              3.    Plaintiffs reserve the right to amend and/or supplement this Witness List

 4                    at any time in the future.

 5         C.   Deposition Designations

 6              1.    Defendants do not expect to designate or present any witness

 7                    testimony by deposition.

 8   II.   EXHIBITS

 9         A.   Exhibits Defendants Expect to Offer

10              1.    Copyright registrations (JSC00025-30).

11              2.    Summary Exhibit – A timeline of relevant events leading up to the

12                    dispute. This exhibit has not yet been created but will be timely

13                    produced to opposing counsel for review.

14              3.    Excerpts from applicable statutes and case law – This exhibit has not

15                    yet been created but will be timely produced to opposing counsel for

16                    review.

17              4.    Summary Exhibit – A compilation of figures to demonstrate

18                    Defendants’ net revenue from relevant sales. This exhibit has not yet

19                    been created but will be timely produced to opposing counsel for

20                    review.

21         B.   Exhibits Defendants May Offer if the Need Arises

22              1.    Any and all exhibits, papers, records or writing attached to, filed

23                    with, or referenced by either party’s filings in this case.

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     DEFENDANTS’ PRETRIAL DISCLOSURES – 2
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 1               2.    Defendants reserve the right to use any exhibits listed by Plaintiff.

 2               3.    All papers, records, and writing provided by Defendants to Plaintiff

 3                     in this case.

 4               4.    Defendants reserve the right to supplement and/or amend this

 5                     Exhibit List.

 6               5.    Defendants reserve any and all objections to any and all exhibits

 7                     listed by Plaintiffs in this action.

 8

 9   Dated: November 16, 2018

10                                                 By:       /Brandon J. Leavitt/              .




                                                         Brandon James Leavitt
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14
                                                         ATTORNEY FOR DEFENDANTS
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     DEFENDANTS’ PRETRIAL DISCLOSURES – 3
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         Case 2:17-cv-02712-JJT Document 74 Filed 11/16/18 Page 4 of 4




                           CERTIFICATE OF SERVICE

             This is to certify that a true and correct copy of the above and foregoing

document has been forwarded to all counsel of record in accordance with the Federal

Rules of Civil Procedure on this the 16th day of November, 2018.

             Rahul Malhotra, Trendily Furniture LLC, and
             Trendily Home Collection LLC
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                                            By: /Brandon J. Leavitt/
                                                Brandon James Leavitt
                                                Attorney for Defendants




CERTIFICATE OF SERVICE
